 1   Bruce H Orr, OSB No. 813297
     Email: bho@wysekadish.com
 2   Wyse Kadish LLP
     900 SW Fifth Ave, Ste 2000
 3   Portland, OR 97204
     Phone: 503 228-8448
 4   Fax: 503 273-9135

 5   Attorney for Tasha Teherani-Ami, in her capacity as
     the trustee of the Sonja Dinihanian GST Trust DTS 1/1/11
 6

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13                              UNITED STATES BANKRUPTCY COURT

14                                  FOR THE DISTRICT OF OREGON

15   In re:                                            )    Case Nos.
                                                       )    19-31883-dwh11 (Lead case)
16   15005 NW Cornell LLC and                          )    19-31886-dwh11
                                                       )
17   Vahan M. Dinihanian, Jr.                          )    Jointly Administered Under
                                                       )    19-31883-dwh11
18                                 Debtor(s).          )
                                                       )    TASHA TEHERANI-AMI’S
19                                                     )    CONTINUED OBJECTION, IN HER
                                                       )    CAPACITY AS THE TRUSTEE OF THE
20                                                     )    SONJA DINIHANIAN GST TRUST DTS
                                                       )    1/1/11, TO DEBTORS’ PROPOSED
21                                                     )    JOINT DISCLOSURE STATEMENT
                                                       )    DATED OCTOBER 13, 2020
22
              Tasha Teherani-Ami (“Ms. Teherani-Ami”), in her capacity as the trustee of the Sonja
23
     Dinihanian GST Trust DTS 1/1/11 (the “Trust”), by and through her attorney Bruce H. Orr, hereby
24
     renews her objections to Debtors’ First Amended Joint Disclosure Statement Dated October 13,
25
     2020 (Dkt #314)(“Disclosure Statement”), and restates and supplements those objections as
26
PAGE 1 - TASHA TEHERANI-AMI’S CONTINUED OBJECTION, IN HER CAPACITY
AS THE TRUSTEE OF THE SONJA DINIHANIAN GST TRUST DTS 1/1/11, TO                  WYSE KADISH LLP
                                                                                        Suite 2000
DEBTORS’ PROPOSED JOINT DISCLOSURE STATEMENT DATED OCTOBER 13,                    900 SW Fifth Avenue
                                                                                 Portland, Oregon 97204
2020                                                                                  (503) 228-8448
                                                                                Facsimile: (503) 273-9135


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 1   follows:

 2          A.              The Trust again adopts the objections set forth in the following paragraphs

 3   of the objections filed by Alexander LLC, Christiana LLC, Cornell Rd LLC , and Lillian Logan

 4   (collectively, the “Logan Parties”) filed October 5, 2020 (Dkt. #308):

 5                Paragraph         2

 6                Paragraph         3

 7                Paragraph         4

 8                Paragraph         6, although the Trust’s objection is that the Debtors do not

 9   adequately disclose that the Tenant in Common Agreement that 15005 LLC is a party to is an

10   executory contract, and whether Debtors plan to assume or reject that agreement.

11                Paragraphs        8, 9, 10, 11, and 12

12                                      ADDITIONAL OBJECTIONS

13          B.    In response to a demand made by the Trust since the last hearing, for the first time

14   Debtors disclose that earlier this year Dinihanian, directly or through his alter ego, Eagle Holdings,

15   LLC, borrowed a significant amount of money from the same lender that Debtors are proposing

16   provide the funds and guidance Debtors have determined is, in their view, necessary to carry out

17   the Debtors’ proposed plan. This disclosure of the additional financing is made in the footnote on

18   page 12 of the Disclosure Statement. That information is incorrect, in part, and certainly

19   incomplete. The name of the LLC is 933 Harrison Avenue Centrallia LLC, not 933 Harrison

20   Blvd., LLC. See the UCC-1 filed in Oregon, attached. Second, it is not at all clear that Dinihanian

21   does not, as he represents, have an interest in 933 Harrison, in light of the filings in Washington.

22   See the Statement of Reinstatement issued by the State of Washington, attached.

23          Despite a demand by the Trust, the Debtors have not yet produced documents for the Trust

24   pertaining to this loan. The Debtors should give a more detailed summary of this transaction

25   involving the Plan Lender and Dinihanian.

26
PAGE 2 - TASHA TEHERANI-AMI’S CONTINUED OBJECTION, IN HER CAPACITY
AS THE TRUSTEE OF THE SONJA DINIHANIAN GST TRUST DTS 1/1/11, TO                     WYSE KADISH LLP
                                                                                           Suite 2000
DEBTORS’ PROPOSED JOINT DISCLOSURE STATEMENT DATED OCTOBER 13,                       900 SW Fifth Avenue
                                                                                    Portland, Oregon 97204
2020                                                                                     (503) 228-8448
                                                                                   Facsimile: (503) 273-9135


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 1          C.              The Debtors’ state at pages 27 and 28 of the proposed disclosure statement

 2   the following:

 3                           As a condition of the Plan Loan, the Plan Lender will require the Debtors to
                  agree to (i) use their best efforts to complete or otherwise resolve the partition
 4                litigation pending in Washington County or (ii), in consultation with the Plan Lender,
                  make a determination that completion of the partition litigation is not practicable
 5                within a reasonable time and the Debtors should pursue, through a reservation of
                  jurisdiction by this Court, the sale of the entire Cornell Property pursuant to Section
 6                363(h) of the Bankruptcy Code. The criteria used by Debtors would include the
                  length of time required to complete the proposed partition, the difficulty and expense
 7                involved in pursuing the partition if the co-owners of the Cornell Property oppose
                  partition, appeal any judgment in the partition litigation, or if the co-owners otherwise
 8                try to block or thwart Debtors’ efforts to finalize the partition of the Cornell Property.
                  (Emphasis added.)
 9
                  (1)       The Debtors do not disclose the details of this critical condition of not just
10
     the Plan Loan, but the course of the Debtors’ combined efforts to reorganize. Because the Debtors
11
     have not attached the proposed loan documents, it is unclear just how the Plan Loan will be funded
12
     with this “condition” and how that condition will be a legitimate term of a $5 million plus loan.
13
     The terms of this condition should be disclosed in detail like all the other import terms of the
14
     proposed Plan Loan.
15
                  (2)       In addition, the Debtors’ plan clearly provides for more litigation following
16
     confirmation. The partition action will go forward or an adversary proceeding will be filed under
17
     Section 363 (although it is not clear at all as to how that might happen.) They do not, however,
18
     explain the goals of either of those litigation paths, nor do they discuss the relative merits of both,
19
     or what the likely outcomes might be if either is pursued.
20
                  (3)       Later in that same section, they say:
21
                  For the avoidance of doubt, the Debtors’ agreement to referenced above will be
22                sufficient to permit the funding of the Plan Loan and the payment of Claims as set
                  forth in the Plan.
23
     And at the end of the next paragraph:
24
                  The payment of creditors’ claims under the Plan will be funded by the Plan Loan and
25                will not await or be dependent upon the resolution of any of the elements of
                  uncertainty described in this paragraph.
26
PAGE 3 - TASHA TEHERANI-AMI’S CONTINUED OBJECTION, IN HER CAPACITY
AS THE TRUSTEE OF THE SONJA DINIHANIAN GST TRUST DTS 1/1/11, TO                      WYSE KADISH LLP
                                                                                            Suite 2000
DEBTORS’ PROPOSED JOINT DISCLOSURE STATEMENT DATED OCTOBER 13,                        900 SW Fifth Avenue
                                                                                     Portland, Oregon 97204
2020                                                                                      (503) 228-8448
                                                                                    Facsimile: (503) 273-9135


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 1   Those sentences are, it appears, inconsistent with the disclosure that the Plan Loan will be

 2   “conditional” on the Debtors making a promise to take certain actions.

 3                (4)       Also, it is not clear what the phrase “in consultation with the Plan Lender”

 4   means. Will the Plan Lender be making business decisions for 15005 LLC?

 5                (5)       Then the Debtors disclose:

 6                         The Debtors anticipate that the Plan Loan will be repaid at maturity by
                  refinancing. If the Debtors are forced to seek relief under Section 363(h) of the
 7                Bankruptcy Code, the sale of the NW Cornell-owned as well as non-debtor interests
                  in the Cornell Property will be sold. In this instance, the Plan Loan would be repaid
 8                with the proceeds of such sale.

 9          Thus, the Debtors’ disclose that their plan, if all goes right, is simply to obtain a first round

10   of financing, then try to successfully litigate the partition the Farm in some unspecified way, and

11   then refinance again. This makes no sense. The Debtors do not detail in what way the Code all

12   how allow them to do that, or just how that might come to pass, the terms of such additional

13   financing, the chances of being able to secure such take out financing, and why the Debtors should

14   be able to continue to prevent the enforcement of the General Judgment, and force the Trust to

15   continue to be a member of 15005 LLC through two rounds of financing over its objections.

16                (6)       In addition, the Debtors do not disclose what will happen after that second

17   round of financing. Refinance for what purpose? Clearly, there is no long term plan revealed in

18   this Amended Disclosure Statement.

19                (7)       Also, the Debtors say that “in consultation with the Plan Lender” they will

20   “make a determination” whether the “ completion of the partition litigation is not practicable

21   within a reasonable time and the Debtors should pursue, through a reservation of jurisdiction by

22   this Court, the sale of the entire Cornell Property pursuant to Section 363(h) of the Bankruptcy

23   Code.” They do not disclose and explain why they cannot make that determination now.

24          Why are the Debtors’ unable to make that determination now? One of the reasons for a

25   plan and disclosure statement is to allow persons with an interest in a debtor’s reorganization to

26
PAGE 4 - TASHA TEHERANI-AMI’S CONTINUED OBJECTION, IN HER CAPACITY
AS THE TRUSTEE OF THE SONJA DINIHANIAN GST TRUST DTS 1/1/11, TO                      WYSE KADISH LLP
                                                                                            Suite 2000
DEBTORS’ PROPOSED JOINT DISCLOSURE STATEMENT DATED OCTOBER 13,                        900 SW Fifth Avenue
                                                                                     Portland, Oregon 97204
2020                                                                                      (503) 228-8448
                                                                                    Facsimile: (503) 273-9135


                          Case 19-31883-dwh11           Doc 317      Filed 10/14/20
 1   vote on how the debtor will reorganize and proceed forward. Here, the Debtors clearly want to do

 2   that unilaterally, or “in consultation” with the Plan Lender, all to the exclusion of the Trust and the

 3   very few creditors of Dinihanian who are not paid off with the Plan Loan.

 4          Also, the Debtors do not explain how, under the Code, this Court could retain jurisdiction

 5   after a plan is confirmed, to, essentially, reopen a case to allow a reorganized debtor to institute an

 6   adversary proceeding in order to then complete a sale pursuant to Section 363(h). No adversary

 7   proceeding has been filed yet, but that is the only way this Court would obtain jurisdiction over the

 8   Logan Parties, and the Trust, to for force an immediate sale of the entire Farm over the objection of

 9   the Trust and the Logan Parties.

10          D.              The Debtors still refuse to list the contracts that are executory and whether

11   they intend to assume or reject them, such as the tenant in common agreement, the Operating

12   Agreement for 15005 LLC, the management agreement included in that Operating Agreement, and

13   all rental or lease agreements that Dinihanian has with his tenants.

14          E.              The Debtors have improperly classified the Trust as holding a interest in

15   15005 LLC as a member. The Trust should be treated in the Plan like the Logan Parties, because

16   the Trust is a tenant in common with respect to the Farm.

17          Dated: October 14, 2020.

18                                                          WYSE KADISH LLP

19                                                           /s/ Bruce H. Orr
                                                            Bruce H. Orr, OSB No. 813297
20                                                          bho@wysekadish.com
                                                            Telephone: (503) 228-8448
21                                                          Facsimile: (503) 273-9135
                                                            Of Attorneys for Tasha Teherani-Ami, in her
22                                                          capacity as the trustee of the Sonja Dinihanian
                                                            GST Trust DTS 1/1/11
23

24

25

26
PAGE 5 - TASHA TEHERANI-AMI’S CONTINUED OBJECTION, IN HER CAPACITY
AS THE TRUSTEE OF THE SONJA DINIHANIAN GST TRUST DTS 1/1/11, TO                      WYSE KADISH LLP
                                                                                            Suite 2000
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2020                                                                                      (503) 228-8448
                                                                                    Facsimile: (503) 273-9135


                          Case 19-31883-dwh11           Doc 317     Filed 10/14/20
                                                      STATE OF OREGON                       Oregon Secretary of State
                                                     Corporation Division - UCC             Filing Number:                92173150
                                                   255 Capitol Street NE, Suite 151         Filing Date:      Jan 30, 2020 04:23 PM
                          UCC-1                        Salem, Or 97310-1327
                                                           (503) 986-2200
                                                        FilingInOregon.com                  Filed Electronically



 Action: Initial Filing

 Debtor -
 Organization Name: Eagle Holdings LLC
 Address 1: 237 NW Skyline Blvd
 City: Portland
 State: OR, USA
 Zip Code: 97210

 Secured Party -
 Organization Name: SORFI, LLC
 Address 1: 9 SE 3rd Avenue, Suite 100
 City: Portland
 State: OR, USA
 Zip Code: 97214

 Collateral -
 certificated units, any other units, other membership interests, options, and other rights to acquire units or other membership
 interests of 933 Harrison Avenue Centralia LLC, a Washington limited liability company




Oregon UCC, UCC-1, Filing Number 92173150                                                                                     Page 1 of 1
                                 Case 19-31883-dwh11                Doc 317       Filed 10/14/20
                                                                                                           Filed
                                                                                                    Secretary of State
                                                                                                   State of Washington
                                                                                                 Date Filed: 01/14/2020
                                                                                                Effective Date: 01/14/2020
                                                                                                   UBI #: 602 510 390


STATEMENT OF REINSTATEMENT

BUSINESS INFORMATION
Business Name:
933 HARRISON AVENUE CENTRALIA LLC
UBI Number:
602 510 390
Business Type:
WA LIMITED LIABILITY COMPANY
Business Status:
ACTIVE
Principal Office Street Address:
237 NW SKYLINE BLVD, PORTLAND, OR, 97210-1053, UNITED STATES
Principal Office Mailing Address:
237 NW SKYLINE BLVD, PORTLAND, OR, 97210-1053
Expiration Date:
06/30/2021
Jurisdiction:
UNITED STATES, WASHINGTON
Formation/Registration Date:
06/08/2005
Period of Duration:
PERPETUAL
Inactive Date:
Nature of Business:
ADMINISTRATION & BUSINESS SUPPORT SERVICES, ANY LAWFUL PURPOSE, RESTAURANT

BUSINESS NAME
Business Name
933 HARRISON AVENUE CENTRALIA LLC

REGISTERED AGENT
Registered Agent
                       Street Address                                       Mailing Address
Name
VAHAN                  933 HARRISON AVE, CENTRALIA, WA,                     933 HARRISON AVE, CENTRALIA, WA,
DINIHANIAN             98531-2113, UNITED STATES                            98531-2113, UNITED STATES



This document is a public record. For more information visit www.sos.wa.gov/corps         Work Order #: 2020010900014513 - 1
                                                                                                   Received Date: 01/09/2020
                                                                                                    Amount Received: $280.00
                                Case 19-31883-dwh11             Doc 317      Filed 10/14/20
REGISTERED AGENT CONSENT

Customer provided Registered Agent consent? - Yes

PRINCIPAL OFFICE
Phone:
503-849-4091
Email:
VAHAN237@GMAIL.COM
Street Address:
237 NW SKYLINE BLVD, PORTLAND, OR, 97210-1053, UNITED STATES
Mailing Address:
237 NW SKYLINE BLVD, PORTLAND, OR, 97210-1053, UNITED STATES

GOVERNORS
Title                     Governor Type                Entity Name              First Name            Last Name
GOVERNOR                  INDIVIDUAL                                            VAHAN                 DINIHANIAN JR

NATURE OF BUSINESS
Nature of Business:
ADMINISTRATION & BUSINESS SUPPORT SERVICES, ANY LAWFUL PURPOSE
RESTAURANT

ANNUAL FEE CALCULATIONS
Filing Name                                                                                              Annual year                Fee
REINSTATEMENT                                                                                                                  $140.00
REINSTATEMENTS, FOREIGN REGISTRATIONS ANNUAL REPORT FEE                                                   06/30/2019             $60.00
REINSTATEMENTS, FOREIGN REGISTRATIONS ANNUAL REPORT FEE                                                   06/30/2020             $60.00
PROCESSING                                                                                                                       $20.00
                                                                                                                     Total : $280.00

EFFECTIVE DATE
Effective Date:
01/14/2020


CONTROLLING INTEREST
1. Does your company own real property (including leasehold interests) in Washington?
NO
2. Has there been a transfer of stock, other financial interest change, or an option agreement exercised during the last 12 months that
resulted in a transfer of controlling interest?
NO
3. Has an option agreement been executed in the last 12 months allowing for the future purchase or acquisition of the entity, that, if


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                                                                                                              Amount Received: $280.00
                                  Case 19-31883-dwh11               Doc 317        Filed 10/14/20
exercised would result in a transfer of controlling interest?
NO

RETURN ADDRESS FOR THIS FILING
Attention:
VAHAN DINIHANIAN JR
Email:
VAHAN237@GMAIL.COM
Address:
237 NW SKYLINE BLVD, PORTLAND, OR, 97210-1053, UNITED STATES

UPLOAD ADDITIONAL DOCUMENTS
Name                                      Document Type
No Value Found.

EMAIL OPT-IN
     I hereby opt into receiving all notifications from the Secretary of State for this entity via email only. I acknowledge that I will no
longer receive paper notifications.

AUTHORIZED PERSON - STAFF CONSOLE
      Document is signed.
Person Type:
INDIVIDUAL
First Name:
VAHAN
Last Name:
DINIHANIAN
Title:
MEMBER / MANAGER




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                                                                                                               Received Date: 01/09/2020
                                                                                                                Amount Received: $280.00
                                   Case 19-31883-dwh11                Doc 317        Filed 10/14/20
 1                                   CERTIFICATE OF SERVICE

 2        On October 14, 2020, I served copies of the above TASHA TEHERANI-AMI’S
     CONTINUED OBJECTION, IN HER CAPACITY AS THE TRUSTEE OF THE SONJA
 3   DINIHANIAN GST TRUST DTS 1/1/11, TO DEBTORS’ PROPOSED JOINT DISCLOSURE
     STATEMENT DATED OCTOBER 13, 2020 on the following entitled to notice:
 4
            1) through CM/ECF:
 5
      Douglas R. Pahl                                    Nicholas J. Henderson
 6     Attorney for debtor 15005 NW Cornell LLC          Troy Sexton
                                                          Attorneys for debtor Vahan M. Dinihanian
 7
      Stephen P. Arnot                                   Eleanor A. Dubay
 8     U.S. Trustee                                       Attorney for creditor Tasha Teherani-Ami
 9    Elayna Z. Matthews                                 Daniel L. Steinberg
       Attorney for Columbia State Bank                   Attorney for Cornell Road LLC; Lillian
10                                                       Logan

11    Erich M. Paetsch                                   Russell D. Garrett
       Attorney for Columbia State Bank                   Attorney for Alexander LLC, et al.
12
          2) using paper by first class mail on those who do not participate in this case through
13   CM/ECF:

14

15
            DATED: October 14, 2020
16
                                                          /s/ Bruce H. Orr
17                                                       Bruce H. Orr, OSB No. 813297
                                                         bho@wysekadish.com
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